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                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                            www.flmb.uscourts.gov

    In re :                                                                           Case No. 6:18-bk-05155-KSJ
                                                                                      Chapter 7

    Rey Francisco Diaz,
                            Debtor(s).
    ____________________________________/

                 MOTION FOR ORDER APPROVING SALE OF ESTATE’S INTEREST IN
                         REAL ESTATE IN ORANGE COUNTY, FLORIDA

              Trustee, Marie E. Henkel, by and through her undersigned counsel, moves this Court for authority
    to sell the estate’s interest in real property on the following terms :
    1. The property to be sold is the estate’s interest in residential real estate in Orange County, Florida, said
        real estate being more particularly described as follows :
                     NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

             Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
   notice or hearing unless a party in interest files a response within twenty-one (21) days from the date set forth on
   the attached proof of service, plus an additional three days for service if any party was served by U.S. Mail. If you
   object to the relief requested in this paper, you must file a response with the Clerk of the U.S. Bankruptcy Court,
   400 W. Washington St., Ste. 5100, Orlando, FL 32801 and serve a copy on Marie E. Henkel, Trustee, 3560 S
   Magnolia Ave., Orlando, FL 32806; Kristen L. Henkel, Esq., 3560 S. Magnolia Ave., Orlando, FL 32806; and on
   U. S. Trustee, 400 W. Washington St., Ste. 1100, Orlando, FL 32801.

            If you file and serve a response within the time permitted, the Court will either schedule and notify you of
   a hearing, or consider the response and grant or deny the relief requested without hearing. If you do not file a
   response within the time permitted, the Court will consider that you do not oppose the relief requested in the paper,
   will proceed to consider the paper without further notice or hearing, and may grant the relief requested.



              Lot 19, AZALEA COVE, according to the plat thereof as recorded in Plat Book 28, Page 100,
              of the Public Records of Orange County, Florida, LESS the South 10.00 feet thereof.

              a/k/a 2036 Garwood Drive, Orlando, FL 32822
              Parcel ID No. 02-23-30-0371-00-190

2. Manner of Sale : The buyer has made an earnest money deposit in the amount of $1,000.00, and is ready to
                 complete the purchase for the sales price indicated below, upon approval of the sale by the
                 Court. Trustee proposes to convey whatever interest the Estate has in the property to the Buyer
                 upon approval of this Motion.
3. Terms of Sale :



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a. Buyer :        VJP Management Inc.
                  P.O. Box 691989
                  Orlando, FL 32869

b. Sales Price : $96,341.31
c. Appraised Value : The property is assessed by the Orange County Property Appraiser with a market value
of $137,201.00. Said valuation does not consider the condition of the property and the presence of unlawful
tenants. The property needs repairs such as the replacement of at least one window secured by plywood
boards. Additionally, there are squatters residing on the premises who are not paying rent and are causing
further harm to the property.
d. Costs of Sale : The buyer is paying all closing costs normally borne by the seller and agrees to pay the
following costs associated with transfer of title :
          Mortgage Payoff                                           $ 96,341.31 *
          Closing Fee                                                     300.00
          Title Search                                                    100.00
          Owner’s Title Policy                                            554.30
          Wire Fee                                                         25.00
          Recording Fees                                                  192.50 *
          Documentary Stamp Tax on Deed                                   674.80
          Bankruptcy Estate Carve Out / Buyer Premium                 10,000.00
          Municipal Lien Search & Fees                                    140.00 *
          Prorated 2018 Property Tax                                    2,365.74 *
* estimate
The net proceeds to the estate are $10,000.00. The buyer has agreed to pay an amount sufficient to fully
satisfy the mortgage, in favor of Carrington Mortgage Services, LLC, encumbering the property, and to
provide a net of $10,000.00 to the estate. The trustee believes this sale to be of benefit to the estate.
e. Trustee intends to transfer title to the property by trustee’s deed, subject to current year’s taxes,
assessments, zoning, restrictions, and other requirements imposed by governmental authorities, and other
matters appearing on the plat or otherwise common to the subdivision, and public utility easements of public
record.
f. The estate will provide a trustee’s deed to the buyer and certified copies of the Order approving sale,
Notice of Commencement of bankruptcy and of the docket, reflecting no objections to the sale, or if any,
that said objections were overruled by Court Order. Trustee is unaware of the existence of any liens or
encumbrances on the property except as disclosed above. There are no adverse tax consequences of the
sale to the estate.



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g. The Trustee respectfully requests that this Court: (a) waive the 14-day stay pursuant to Rule 6004(h),
deem the sale order enforceable immediately upon entry, and authorize the Trustee to close on the sale
immediately upon entry of the Final Sale Order; (b) authorize the Trustee to take all actions and execute all
documents she deems reasonable, necessary and/or desirable to effectuate the requested relief; (c) retain
sole and exclusive personal subject matter jurisdiction to implement, interpret and enforce the terms of this
Motion and the Final Sale Order; and (d) adjudicate all claims, controversies and/or disputes arising from
or related to this sale.
         WHEREFORE, Trustee moves this Court to enter an Order authorizing the sale of the property as
set forth above.
         I HEREBY CERTIFY that a true and correct copy of the foregoing Motion was furnished by first
class United States Mail, postage prepaid, or by electronic delivery, on October 27, 2018, to VJP
Management Inc., P.O. Box 691989, Orlando, FL 32869; and to all persons on the mailing matrix, attached
to the original of this document, as furnished by the Clerk’s office on October 27, 2018.


                                                  /s/ Kristen L. Henkel
                                                  Kristen L. Henkel, Esq.
                                                  Florida Bar No. 81858
                                                  M. E. Henkel, P.A.
                                                  3560 South Magnolia Avenue
                                                  Orlando, Florida 32806
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